Bates assigned by deed the two barrels of brandy, now in controversy, to the defendant. The vendor is never permitted, after he has sold property, to be heard to say that he never had any title to that *Page 307 
property, nor are any declarations of his made after the sale, whether in the presence of the vendee or not, admissible in evidence to defeat or impair the sale. The judge did not err in refusing to receive the evidence offered of the declarations of Bates, made in the presence of the defendant.
Secondly, the plaintiff insisted that the court should charge the jury that the evidence given by the two witnesses, Patton and Byers, did not of itself establish contract of sale of the brandy. The court refused, but charged the jury that if they believed, from all the evidence submitted to them, that there was a sale and delivery of the brandy, then the property vested in Bates. We do not see any error in the court's refusing to charge on garbled parts of the evidence, as the plaintiff did not pretend to allege that the residue of the evidence offered by the defendant, to wit, the order drawn by the plaintiff on Bates in favor of Gilreath, was a forgery. That order was an admission, in writing, by the plaintiff, of a sale of brandy by him to Bates. It is possible that the order may have been drawn for the price of another lot of brandy. But there is nothing in the case to show that the plaintiff ever had any dealings in brandy with Bates except the single lot carried by Byers. If the plaintiff had insisted that the order had not been proved to be his, or that it was a forgery, then there would have been some propriety in his   (445) prayer to the judge to charge as he requested.
PER CURIAM.                                             No error.
Cited: Hodges v. Spicer, 79 N.C. 229.